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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

ST. LUKE’S HEALTH SYSTEM, LTD.,                    Case No. 1:25-cv-00015-DKG

                   Plaintiff,                      MEMORANDUM IN SUPPORT OF
                                                   PLAINTIFF’S MOTION TO
       v.                                          CONSOLIDATE

RAÚL LABRADOR, Attorney General of the
State of Idaho,

                   Defendant.


       Plaintiff St. Luke’s Health System, Ltd., submits this memorandum in support of its Motion

to Consolidate this case with United States v. Idaho, 22-cv-0329-BLW, currently pending decision

on appeal in the Ninth Circuit, Case Nos. 23-35440 and 23-35450.


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                                         BACKGROUND

       The United States filed suit against Idaho to enjoin the State from enforcing § 18-622 insofar

as it prohibits the stabilizing care that the Emergency Medical Treatment and Labor Act

(“EMTALA”) requires. On August 24, 2022, this Court enjoined “the State of Idaho, including all

of its officers, employees, and agents” from enforcing § 18-622 “as applied to medical care required

by [EMTALA].” United States v. Idaho, 623 F. Supp. 3d 1096, 1117 (D. Idaho 2022). The Court

held that EMTALA preempts § 18-622 in circumstances where EMTALA “requires the provision

of care and state law criminalizes that very care.” Id. at 1109. This Court also concluded that § 18-

622 “stands as an obstacle to the accomplishment and execution of the full purposes and objectives

of Congress.” Id. at 1111 (citation omitted). Section 18-622 would deter EMTALA-required

stabilizing care, this Court explained, because it often would require a “medically impossible”

determination in emergency circumstances that pregnancy termination is “necessary to prevent the

patient’s death.” Id. at 1113-14.

       The State and Legislature filed a consolidated appeal. While a panel of the Ninth Circuit

initially stayed the district court’s injunction pending appeal, United States v. Idaho, 83 F.4th 1130

(9th Cir. 2023), the en banc Court vacated that stay, United States v. Idaho, 82 F.4th 1296 (9th Cir.

2023), and set the case for argument. Before argument could take place, however, the U.S. Supreme

Court stayed the preliminary injunction and granted certiorari before judgment. Moyle v. United

States, 144 S. Ct. 540 (2024). The stay went into effect on January 5, 2024. Id. On June 27, 2024,

the Supreme Court dismissed the writ as improvidently granted, vacated its stay, and thereby

reinstated the preliminary injunction without modification. Moyle v. United States, 144 S. Ct. 2015




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(2024) (per curiam). The case was remanded to the en banc Ninth Circuit, which heard argument on

December 10 and took the matter under consideration.

       After the Supreme Court decision and before argument on remand to the Ninth Circuit, the

State and Legislature moved to modify the preliminary injunction. Motion for Modification, United

States v. Idaho, No. 22-cv-00329 (D. Idaho July 12, 2024), ECF No. 166. They argued that “[m]uch

has changed since this Court preliminarily enjoined Idaho’s Defense of Life Act,” including that the

United States had made statements to the Supreme Court about EMTALA’s reach that “narrowed—

dramatically and materially—the scope of any potential conflict.” Id. at 1. This Court rejected the

motion as it had no jurisdiction to modify the injunction pending appeal. See Memorandum and

Opinion, United States v. Idaho, No. 22-cv-00329 (D. Idaho July 14, 2024), ECF No. 168.

       St. Luke’s filed its action on January 14, 2025, also seeking to enjoin enforcement of § 18-

622 insofar as it prohibits the stabilizing care that EMTALA requires. St. Luke’s brought equitable

and Declaratory Judgment Act claims against Idaho Attorney General Raúl Labrador, in his official

capacity. See St. Luke’s v. Labrador, Compl. On that same date, St. Luke’s filed a motion for

preliminary relief, seeking an injunction identical to the one in United States v. Idaho, except that

it would run specifically against Attorney General Labrador and his officers, employees, and

agents. See St. Luke’s v. Labrador, Mem. in Support of Mot. for Prelim. Injunction at 1. St. Luke’s

now moves to consolidate the two actions.

                                      LEGAL STANDARD

       Under Federal Rule of Civil Procedure 42(a), this Court has broad discretion to consolidate

actions involving a common question of law or fact. Pierce v. Cty. of Orange, 526 F.3d 1190, 1203

(9th Cir. 2008) (“A district court generally has ‘broad’ discretion to consolidate actions; we review

its decision on consolidation under an abuse of discretion standard.”).



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        As this Court has previously explained:

          When separate actions involving a common question of law or fact are pending
          before the court, the court may order a joint hearing, trial or other matters at
          issue in the actions. Moreover, the court may order all the actions consolidated,
          and it may make any order which tends to avoid unnecessary costs or delay. The
          district court has broad discretion under this rule to consolidate cases pending in
          the same district.

Dudley v. Aspen Realty, Inc., No. 06-cv-189, 2007 WL 2238889, at *1 (D. Idaho Aug. 1, 2007)

(citations omitted).

        Further, in Abbott v. Sombke, this Court consolidated two separate prisoner civil rights cases

in which plaintiff inmates were alleging inadequate psychiatric care:

          In order to consolidate claims, the right to relief asserted by each plaintiff must
          arise out of or relate to the same transaction or occurrence, or series of transactions
          or occurrences, and there must be common questions of law or fact in the actions.
          The district court must also decide whether consolidation of the plaintiffs’ claims
          would be equitable to both sides. The primary considerations for the Court are the
          judicial efficiency of consolidating the cases and the risk of inconsistent
          adjudications in the event the cases proceed separately. See Matter of Rhone-
          Poulenc Rorer Inc., 51 F.3d 1293, 1303 (7th Cir. 1995) (trial court must not divide
          issues between separate trials in such a way that the same issue is reexamined by
          different juries).

Abbott v. Sombke, No. 03-cv-472, 2006 WL 988285, at *1 (D. Idaho Apr. 13, 2006) (citations

omitted); accord Hoak v. Smith, No. 08-cv-402, 2009 WL 453824, at *1 (D. Idaho Feb. 20,

2009) (Winmill, J.) (ordering consolidation of five cases “for ease of administration” where

“Plaintiffs’ Complaints have similar content, all relate to the same subject matter, and are brought

against the same type of defendants”).

        Where a court determines that there are common questions of law or fact warranting

consolidation, it must then weigh the saving of time and effort consolidation would produce against

any inconvenience, delay, or expense that it would cause. Single Chip Systems Corp. v. Intermec

IP Corp., 495 F.Supp.2d 1052 (S.D. Cal. 2007).




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                                            ARGUMENT

           This Court should exercise its discretion under Federal Rule of Civil Procedure 42(a) to

consolidate this case with United States v. Idaho, 22-cv-0329-BLW.

      I.      The Two Cases Involve Common Questions of Law and Fact and Seek the Same
              Relief.

           St. Luke’s brings the same underlying legal claim against an Idaho state official—the

Attorney General—as the United States brought against the State of Idaho. Both actions assert that

to the extent Idaho’s Total Abortion Ban, Idaho Code § 18-622, conflicts with EMTALA,

EMTALA preempts the Idaho statute. Compare St. Luke’s v. Labrador, Compl. ¶ 6, with United

States v. Idaho, 623 F. Supp. 3d at 1105. St. Luke’s brings its lawsuit specifically against the Idaho

Attorney General, because, as Attorney General, Labrador has the authority to enforce Idaho

criminal statutes, including Idaho Code § 18-622. Planned Parenthood Great Nw., Haw., Alaska,

Ind., Ky. v. Labrador, 122 F.4th 825, 843 (9th Cir. 2024); Planned Parenthood of Idaho, Inc. v.

Wasden, 376 F.3d 908, 919-20 (9th Cir. 2004).

           The legal claim asserted by St. Luke’s is also based on the same facts as those in United

States v. Idaho. St. Luke’s and the United States both assert in their respective actions that hospitals,

their employees, and their patients face harm, and have experienced harm, where providers confront

an untenable choice of complying with an Idaho criminal statute, Idaho Code § 18-622, or complying

with their obligations under EMTALA to provide stabilizing care to pregnant patients who present

at emergency rooms with significant complications that pose a risk to the pregnant patient’s health

and for whom stabilizing care may require termination of the pregnancy. Compare St. Luke’s v.

Labrador, Compl. ¶ 46, with United States v. Idaho, 623 F. Supp. 3d at 1103-05. Indeed, St. Luke’s

physicians provided declarations in support of the United States’ motion for a preliminary injunction

in United States v. Idaho, describing circumstances in which treatment of pregnant patients under


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EMTALA standards posed a conflict with Idaho Code § 18-622. See United States v. Idaho, 623 F.

Supp. 3d at 1103-05; Decl. of Kylie Cooper ¶ 6, United States v. Idaho, No. 22-cv-329 (D. Idaho

Aug. 8, 2022), ECF No. 17-7; Decl. of Stacy T. Seyb ¶¶ 9-10, United States v. Idaho, No. 22-cv-

329 (D. Idaho Aug. 8, 2022), ECF No. 17-8.

        On these common questions of law and fact, St. Luke’s seeks effectively the same remedy

that this Court already preliminarily entered against the State of Idaho in United States v. Idaho,

an injunction prohibiting enforcement of Idaho Code § 18-622 to the extent it conflicts with

EMTALA. Compare St. Luke’s v. Labrador, Mem. in Support of Mot. for Prelim. Injunction at 1,

with United States v. Idaho, 623 F. Supp. 3d 1096, 1117 (D. Idaho 2022). Here, as set forth above,

St. Luke’s simply asks the Court to enter the injunction against a specific State of Idaho official with

responsibility for criminal enforcement of the statute, Attorney General Labrador.

     II.    Consolidation Would Promote Judicial Economy and Would Not Cause
            Inconvenience or Delay.

        Although United States v. Idaho was filed more than two years ago, the appellate proceedings

that followed entry of this Court’s preliminary injunction in United States v. Idaho are ongoing, and

proceedings in this Court remain in their beginning stages. The State of Idaho filed its Answer on

September 22, 2022, but the only other proceedings in this Court relate to motions for reconsideration

of the preliminary injunction and to intervention by the Legislature. Moreover, because the Ninth

Circuit en banc panel has not yet ruled on the Defendants’ appeal,1 the district court proceedings in



1
  This Court has jurisdiction to enter an order consolidating these cases. When a notice of appeal
is filed, the district court is “divested of jurisdiction,” but only as to “the matters being appealed.”
Nat. Res. Def. Council, Inc. v. Sw. Marine Inc., 242 F.3d 1163, 1166 (9th Cir. 2001). This rule thus
prevents “the confusion that would ensue from having the same issues before two courts
simultaneously.” Id. Presently, the issue of consolidation is not before the Ninth Circuit. Nor would
consolidating the two cases change anything about the question on review in the Ninth Circuit—
that is, the propriety of a preliminary injunction against the State of Idaho. The instant Motion is
therefore “a discrete matter ancillary to the issues under consideration” in the Ninth Circuit, and

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United States v. Idaho are unlikely to resume for at least several weeks. Thus, the parties in United

States v. Idaho will not be inconvenienced, and the proceedings there will not be delayed.

        Consolidation will reduce costs for the defendants in both actions, where the State has been

represented by the Office of the Attorney General, the named defendant in the case filed by St.

Luke’s. In addition, if the cases are consolidated, all parties and the Court will have a single set of

litigation deadlines and will not have duplicative filings, orders, hearings, or case proceedings. If the

United States seeks to dismiss its case against the State and the two cases are not consolidated, the

parties here will need to reproduce the entire record from that action—a superfluous time- and

resource-intensive exercise. Thus, consolidation of these cases would promote judicial economy,

reduce costs to the parties, and allow a single adjudication of the underlying claims.

                                           CONCLUSION

        For the reasons set forth above, St. Luke’s respectfully requests that this Court grant the

motion to consolidate this case with United States v. Idaho, 22-cv-0329-BLW.




this Court “has authority to proceed forward with portions of the case not related to the claims on
appeal, such as claims against other defendants.” May v. Sheahan, 226 F.3d 876, 879, 880 n.2 (7th
Cir. 2000); see also Ctr. for Food Safety v. Vilsack, No. 10-cv-04038, 2011 WL 672802, at *3
(N.D. Cal. Feb. 18, 2011) (holding that district court had jurisdiction to consider motion to amend
complaint seeking entry of “new injunction” where original preliminary injunction was on appeal).

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DATED: January 14, 2025               STOEL RIVES LLP



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